1

2    Peter Szanto 949-887-2369
     11 Shore Pine
3    Newport Beach CA 92657
4

5                       U.S. Bankruptcy Court
6                                          District of oregon
                                 1050 SW 6th Ave #700 Portland, OR 97204 (503) 326-1500

7

8        In Re Peter Szanto,                                   # 16 –bk-33185 pcm7
9            Involuntary Debtor

10                                             Peter Szanto’s Notice of Motion and
11                                              Motion for Stay of All Proceedings
12            Hearing is                         Pending Appointment of Counsel
13           Requested                            Based on Efforts at Incarceration
14
                                                       of Peter Szanto as Stated in
15
                                                                      Docket # 1011
16

17

18
              1. Plaintiff's Certification Relating to Pre-filing Conferral
19
                        (Certification Pursuant to LBR 7007-1 (a))
20

21                 On September 10, 2020 Peter Szanto sought conferral with
22   Mr. Blackledge regarding Blackledge’s Contempt Motion, Docket # 1011.
23

24                 Debtor’s calls went to voice mail or message taking secretaries.
25   Debtor stated that he was asking for a return phone call to discuss the
26   matters discussed herein. Debtor sought actually to speak with counsel,

27

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2
     because of the grave and urgent importance of the matters herein. Since
3    those calls by Debtor, no counsel has called, nor even tried to call Debtor.
4

5                     Therefore, pursuant to rule LBR 7007-1 (a), Debtor has sought
6    conferral so as to resolve the issues to be presented here, but has been

7    unsuccessful in resolution of the matter at issue without Bankruptcy court

8
     involvement.

9
                   I certify under penalty of perjury under the laws of the United
10
     States, that the foregoing is true and correct. Signed at Irvine CA.
11

12

13
             DATED September 14, 2020 /s/ Signed electronically Peter Szanto
14

15

16
                               2. NOTICE PER LBR 9013-1(b)
17

18
     Notice!!! If you oppose the proposed course of action or relief sought in this motion, you must file
19
     a written objection with the bankruptcy court no later than 14 days after the date listed in the
20
     certificate of service below. If you do not file an objection, the court may grant the motion
21
     without further notice or hearing. Your objection must set forth the specific grounds for
22
     objection and your relation to the case. The objection must be received by the clerk of court at
23
     ** 1050 SW 6th Ave – Room #700 Portland OR 97204 ** by the deadline specified above or it
24
     may not be considered. You must also serve the objection on Peter Szanto at 11 Shore Pine,
25
     Newport Beach CA 92657 within that same time. If the court sets a hearing, you will receive a
26
     separate notice listing the hearing date, time, and other relevant information.
27

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2
                                        3. FACTS
3

4
                    a. Timing of Contempt Motion Not A Co-Incidence
5

6                  Mr. Blackledge wants Peter Szanto in jail, because Blackledge
7    desires Peter Szanto’s DEATH. (Peter Szanto receives chemotherapy 3
8    times a week. Incarceration would make that thrice weekly – imperative --
9    regimen impossible. Szanto has done the research on this subject.
10   Chemotherapy in the Federal Prison system simply does not exist.)
11

12                 Thus, Blackledge’s contempt motion seeks a sentence of DEATH

13   against Peter Szanto.

14
                    Blackledge knowingly, with depraved and absolute indifference,
15
     is seeking Peter Szanto’s DEATH through his arrest scheme intending to
16
     deprive Szanto of the necessary medical care Peter Szanto needs simply
17
     to survive.
18

19
               It is 1st day-of-law-school black-letter law: if it is the actor’s
20
     causation which triggers medical care to terminated, no intervening event
21
     relieves the actor’s liability from intentionally having caused that death.
22

23

24                 Blackledge’s contempt motion coincides with the due dates of
25   Briefs for 2 Appeals which are due in Judge Simon’s Court. Both those
26   Appeals seek to recover money that Blackledge and the Trustees in this
27
     Bankruptcy have looted from Szanto for their own personal pleasure and
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2
     self-enrichment.
3

4
                   Another reason for the present timing of the contempt motion
5
     is that within the last 6 weeks, Mr. Blackledge had succeeded in suborning
6
     Mr. Hogue to expropriate $2 million from Susan Szanto’s HSBC Bank
7

8
     Singapore account.

9

10                 These factors make the current timing of the contempt motion
11   optimal to facilitate the covering-up of the obscene amounts of looting and
12   personal self-enrichment from Susan and Peter Szanto’s assets (both
13
     separate and community property) which have occurred in this Involuntary
14
     Bankruptcy.
15

16
                   The absolute rule of law is that when a person’s freedom is
17
     threatened by the possibility of incarceration, regardless of whether civil or
18

19   criminal allegations, the absolute right to counsel is invoked.

20

21                 In this case, because Peter Szanto is absolutely destitute, his
22   right is to counsel to be appointed without charge for his benefit.
23

24
                   Thereupon, this application asks a stay of proceedings until
25
     the process of appointment of counsel is completed. So that appointed
26
     counsel can write the response motion to the contempt motion (DE 1011).
27

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2
                   This is vital so that Peter Szanto can be represented by
3
     counsel in the proceeding wherein Mr. Blackledge seeks the harshest
4
     of outcomes of the DEATH PENALTY against Szanto.
5

6
                   Peter Szanto’s appointed counsel will write the response to
7

8
     Mr. Blackledge’s contempt motion, because all accused who are facing

9    the possibility of the DEATH PENALTY are entitled to representation by

10   appointed counsel.
11

12                 Szanto is uncertain of the process of the appointment of
13
     counsel for the destitute who are sought to be sentenced to DEATH. Peter
14
     Szanto contends that it was the Bankruptcy court’s duty to appoint counsel
15
     as soon as demand for Peter Szanto’s incarceration came before the
16
     court. This is especially true in the present circumstances where the court
17
     is well aware that Szanto has no money to afford or pay counsel.
18

19

20
                                   4. MEMORANDUM
21

22
                           ‘a. Nature of this Memorandum
23

24
                    Peter Szanto contends that it was this court’s absolute duty –
25
     and the court should have immediately appointed counsel -- as soon as Mr.
26
     Blackledge made known his desire to have Peter Szanto jailed so that
27
     Szanto would DIE from inability to obtain chemotherapy.
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2
                      Peter Szanto’s Memorandum covers only the barest points
3    of appointment of counsel in a civil case where pro se litigant is sought to
4    be jailed. And in this case, Blackledge’s effort is equivalent to seeking Peter
5    Szanto’s DEATH, because once in Federal prison Szanto will be deprived
6    the very vital and essential health care he needs just to survive.
7

8                   The essential law on the subject of right to counsel for the
9    destitute is that when any litigant’s freedom is threatened, when that

10   litigant becomes in jeopardy of arrest, based on a civil contempt allegation,

11
     the alleged contempnor’s absolute right to counsel is immediately
     invoked:
12

13
            Even were the matter res nova, we believe that the central
14          premise of Argersinger -- that actual imprisonment is a
15          penalty different in kind from fines or the mere threat of

16
            imprisonment -- is eminently sound and warrants adoption of
            actual imprisonment as the line defining the constitutional
17
            right to appointment of counsel.
18

19                 Scott v. Illinois,(1979) 440 U.S. 367, 373

20

21
                   Thereupon, Szanto asks a stay of proceedings herein until his
22
     right to counsel to which he is lawfully entitled is effected in full; such that
23
     he be represented by counsel in the making of any response to the
24
     contempt motion.
25

26

27

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2
                                          5. Conclusion
3

4                  A stay is prayed until counsel is appointed for Involuntary Debtor
5    Peter Szanto so as to defend Szanto from a contempt motion, the actual
6    purpose of which is to cause Szanto’s DEATH.
7

8                  Peter Szanto has been entitled to counsel since August 19, 2020
9    when Mr. Blackledge perfected his contempt motion.
10

11                 The court is requested to stay proceedings until the mandate of
12   law is carried out such that Szanto is properly assisted by counsel without
13   cost against Blackledge’s contempt motion.
14

15

16           Respectfully,
17

18                    Dated 9/14/2020     /s/ signed electronically Peter Szanto
19

20

21

22

23

24

25

26

27

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2
     PROOF of SERVICE
3

4    My name is Maquisha Reynolds, I am over 21 years of age and not a party to
5    the within action. My business address is PO Box 14894, Irvine CA 92623
6

7         On the date indicated below, I personally served the within:
                                Notice of Motion, Motion, etc
8
      on the following by placing in postage pre-paid envelopes of the within
9
     document and mailing same:
10
     a. Internal Revenue Service, PO Box 7346, Philadelphia PA 19101
11
     b. First Service Residential, 15241 Laguna Canyon Rd, Irvine CA 92618
12   c. JPMorgan Chase Bank, represented by:
13                  Gadi Shahak c/o Shapiro & Sutherland
14                  1499 SE Tech Center Place, Suite 255 , Vancouver, WA 98683

15   d. Bank of America, c/o McCarthy & Holthus 920 SW 3 Av., Portland OR 97204
                                                                      rd




     e. Oregon Department of Revenue, 955 Center St., Salem OR 97301
16
     f. Chapter 7 Trustee, C. Amborn, PO Box 580, Medford OR 97502
17
     g. Susan Szanto - 11 Shore Pine, Newport Beach CA 92657
18
     h. Office of the US Trustee, 620 SW Main Street, Suite 213, Portland, OR 97205
19   by mailing copies to the above parties via 1st class mail, postage prepaid, or by
20   e-mail.
21   i.     Danny Ong, 9 Battery Road #25-01 Singapore 049910
22
               I declare under penalty of perjury under the laws of the United States
23
     that the foregoing is true and correct. Signed at Irvine CA.
24
            Dated 9/14/ 2020     /s/ signed electronically M. Reynolds
25

26

27

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